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                           UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA
                                 MONROE DIVISION


          JENNIFER MOLOSSO
                                                     CASE NO. 3:23-CV-00567
                        Plaintiff,
          v.
                                                     JUDGE DONALD WALTER
          BOARD OF SUPERVISORS
          UNIVERSITY OF LOUISIANA
          SYSTEM, ET AL                              MAG. JUDGE KAYLA D. MCCLUSKY

                        Defendants,




                                     NOTICE OF COMPLIANCE


          NOW INTO COURT, through undersigned counsel, comes Defendants, Board of

 Supervisors of the University of Louisiana System, d/b/a University of Louisiana at Monroe

 (“ULM”), Dr. Arant, and Dr. Simpson, who pursuant to the Memorandum Order dated April 17,

 2025 [ECF No. 78], and the Court’s instructions therein, shows the following:

          On April 23, 2025, defendants hand-delivered to the Clerk of Court’s office, documents

 identified in the Court’s Memorandum Order for in camera review.

          Accordingly, Defendants show they have fully complied with the Court’s Memorandum

 Order.
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                                   726



Dated: April 23, 2025




                                  Respectfully submitted,

                                    /s/ Sara G. White _____________________
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                                    SARA G. WHITE, Bar No. 34569
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